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                     UNITED STATES DISTRICT COURT FOR THE
 6
 7                        EASTERN DISTRICT OF CALIFORNIA
8
 9   UNITED STATES OF AMERICA,                 )      CR. S-04-0388 MCE
10                                             )
                          Plaintiff,           )
11           vs.                               )           ORDER
12                                             )
     TYSON BARTHOLOMEW TROTTER,                )
13                                             )
14                        Defendant.           )
15
16           By stipulation of Barry V. Voss, Attorney for Defendant Tyson Trotter,
17
     Ms. Krista Hart, Attorney for Defendant Brady Morse, and Mr. Phillip Talbert,
18
19   AUSA,

20           IT IS HEREBY ORDERED:
21
             That Ms. Krista Hart will appear on behalf of Barry V. Voss at the status
22
23   conference scheduled for October 25, 2005, in the above-entitled matter.
24   Dated: October 21, 2005
25
26
27                                      ______________________________
28                                      MORRISON C. ENGLAND, JR
                                        UNITED STATES DISTRICT JUDGE
